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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 EMILIO PINERO,
      Plaintiff,
 vs.

 SUNSHINE GASOLINE DISTRIBUTORS, INC.,
 119TH STREET AMERIKA, INC., and
 GOLDEN STAR, INC d/b/a CHUNG WAH
 CHINESE FOOD,
        Defendants.


                                          COMPLAINT

        Plaintiff, EMILIO PINERO (hereinafter “Plaintiff”), by his undersigned counsel, hereby

 files this Complaint and sues Defendants, SUNSHINE GASOLINE DISTRIBUTORS, INC.,

 119TH STREET AMERIKA, INC., and GOLDEN STAR, INC d/b/a CHUNG WAH CHINESE

 FOOD (hereinafter “Defendants”), for injunctive relief pursuant to the Americans with

 Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter the “A.D.A”), the ADA’s Accessibility

 Guidelines, 28 C.F.R. Part 36 (hereinafter the “ADAAG”), and the Florida Building Code.

                                         JURISDICTION

        1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon Defendants’

 violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

                                            PARTIES

        2.      Plaintiff, EMILIO PINERO, is a resident of Florida and currently lives in Miami,

 Florida and is sui juris. He is a qualified individual with disabilities under the ADA law. Mr.

 Pinero is a double leg amputee from the knees down. Mr. Pinero owns his own vehicle and does

 drive. He has visited the property, which forms the basis of this lawsuit and plan to return to the



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 property to avail himself of the goods and services offered to the public at the property, and to

 determine whether the property has been made ADA compliant. His access to the Facility and/or

 full and equal enjoyment of the goods, services, facilities, privileges, advantages, and/or

 accommodations offered therein was denied and/or limited because of these disabilities and will

 be denied and/or barriers to access and ADA violations which exist at the Facility, including but

 not limited, to those set forth in the Complaint.

        3.      Independent of his personal desire to have access to this place of public

 accommodation free of illegal barriers to access Plaintiff is an advocate of the rights of similarly

 situated disabled persons and is a "tester" for the purpose of asserting his civil rights and

 monitoring, ensuring, and determining whether places of public accommodation are in

 compliance with the ADA. Independent of other subsequent visits, Plaintiff also intends to visit

 the Premises regularly to verify its compliance or non-compliance with the ADA, and its

 maintenance of the accessible features of the Premises. In this instance, Plaintiff, in Plaintiff's

 individual capacity and as a "tester", visited the Premises, encountered barriers to access at the

 Premises, engaged and tested those barriers, suffered legal harm and legal injury and will

 continue to suffer such harm and injury as a result of the illegal barriers to access and the

 violations of the ADA set forth herein. It is Plaintiff's belief that said violations will not be

 corrected without Court intervention, and thus Plaintiff will suffer legal harm and injury in the

 near future.

        4.      Defendant, SUNSHINE GASOLINE DISTRIBUTORS, INC. transacts business

 in the State of Florida and within this judicial district. Defendant is the owner and/or

 representative of the owner and/or operator of the property, which is the subject of this action,

 located on or about 190 NE 119th St., Miami, FL 33160 (hereinafter the “Facility”).



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         5.      Defendant, 119TH STREET AMERIKA, INC. transacts business in the State of

 Florida and within this judicial district. Defendant is the owner and/or operator of the gas station

 and convenience store known as EXXON, which is the subject of this action, located on or about

 190 NE 119th St., Miami, FL 33160 (hereinafter “Facility”).

         6.      Defendant, GOLDEN STAR, INC, transacts business in the State of Florida and

 within this judicial district. Defendant is the owner and/or operator of the restaurant known was

 CHUNG WAH CHINESE FOOD, which is the subject of this action, located on or about 190

 NE 119th St., Miami, FL 33160 (hereinafter “Facility”).

         7.      The Facility is in an area frequently traveled by Plaintiff.

         8.      The Defendants’ Facility is a public accommodation and service establishment,

 and although required by law to do so, it is not in compliance with the ADA and ADAAG.

         9.      In this instance, Mr. Pinero visited the Facility and encountered barriers to access

 at the Facility, and engaged barriers, suffered legal harm and injury, and will continue to suffer

 legal harm and injury as a result of the illegal barriers to access, and Defendants’ ADA violations

 set forth herein.

         10.     Plaintiff has suffered and continues to suffer direct and indirect injury as a result

 of the ADA violations that exist at the Facility and the actions or inactions described herein.

         11.     All events giving rise to this lawsuit occurred in the State of Florida. Venue is

 proper in this Court as the premises are located in the Southern District.

                            FACTUAL ALLEGATIONS AND CLAIM

         12.     Mr. Pinero has attempted to and has, to the extent possible, accessed the Facility,

 but could not do so because of his disabilities due to the physical barriers to access, dangerous

 conditions and ADA violations that exist at the Facility that restrict and/or limit his access to the



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 Facility and/or the goods, services, facilities, privileges, advantages and/or accommodations

 offered therein, including those barriers, conditions and ADA violations more specifically set

 forth in this Complaint.

         13.     Mr. Pinero intends to visit the Facility again in the near future in order to utilize

 all of the goods, services, facilities, privileges, advantages, and/or accommodations commonly

 offered at the Facility, but will be unable to do so because of his disability due to the physical

 barriers to access, dangerous conditions and ADA violations that exist at the Facility that restrict

 and/or limit his access to the Facility and/or accommodations offered therein, including those

 barriers conditions and ADA violations more specifically set forth in this Complaint.

         14.     Defendants have discriminated against Plaintiff and others with disabilities by

 denying access to, and full and equal enjoyment of the goods, services, facilities, privileges,

 advantages and/or accommodations of the Facility, as prohibited by 42 U.S.C., § 12182, et. seq.,

 and by failing to remove architectural barriers as required by 42 U.S.C., § 12182(b)(2)(A)(iv)

 and will continue to discriminate against Plaintiff and others with disabilities unless and until

 Defendants are compelled to remove all physical barriers that exist at the Facility, including

 those specifically set forth herein, and make the Facility accessible to and usable by persons with

 disabilities, including Plaintiff.

         15.     Defendants have discriminated against Mr. Pinero by failing to comply with the

 above requirements. A specific, although not exclusive, list of unlawful physical barriers,

 dangerous conditions and ADA violations which preclude and/or limit Plaintiff’s ability (because

 of his disability) to access the Facility and/or full and equal enjoyment of the goods, services,

 facilities, privileges, advantages and/or accommodations of the Facility include:

                 Accessible Parking Space



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                a. Accessible parking space has a non-compliant surface slope over 6.2%, 6.7%

                    contrary to 2010 ADA Code §502.4,

                b. Access aisle has a non-compliant surface slope over 3.0% contrary to 2010

                    ADA Code §502.4,

                c. Access aisle is not outlined in white contrary to Florida Code §502.3.3, and

                Chung Wa Chinese Restaurant Counter

                d. There is no lower portion of the counter provided contrary to 2010 ADA Code

                    §902.3.

        16.     The above listing is not to be considered all-inclusive of the barriers, conditions or

 violations encountered by Plaintiff and/or which exist at the Facility. Plaintiff requires an

 inspection of the Facility in order to determine all of the discriminatory acts violating the ADA.

        17.     Mr. Pinero has attempted to gain access to the Facility, but because of his

 disability has been denied access to, and has been denied the benefits of services, programs, and

 activities of the Facility, and has otherwise been discriminated against and damaged by

 Defendants, because of the physical barriers, dangerous conditions and ADA violations set forth

 above, and expects to be discriminated against in the future, unless and until Defendants are

 compelled to remove the unlawful barriers and conditions and comply with the ADA.

        18.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

 Defendants modify the Premises or modifies the policies and practices to accommodate

 individuals who have physical disabilities to confirm said modifications have been completed in

 accordance with the requirements of the ADA

        19.     The removal of the physical barriers, dangerous conditions and ADA violations

 set forth herein is readily achievable and can be accomplished and carried out without much



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 difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

 36.304.

         20.     Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

 reasonably anticipates that he will continue to suffer irreparable harm unless and until

 Defendants are required to remove the physical barriers, dangerous conditions and ADA

 violations that exist at the Facility, including those set forth herein.

         21.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

 prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

 and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

         22.     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

 injunctive relief to Plaintiff, including an order to alter the subject Facility to make it readily

 accessible to and useable by individuals with disabilities to the extent required by the ADA, and

 closing the subject Facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

 injunction enjoining Defendants from continuing is discriminatory practices, ordering

 Defendants to remove the physical barriers to access and alter the subject Facility to make it

 readily accessible to and useable by individuals with disabilities to the extent required by the

 ADA, closing the subject Facility until the barriers are removed and requisite alterations are

 completed, and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation

 expenses incurred in this action.

                                                     Respectfully submitted,

                                                     s/ Glenn R. Goldstein
                                                     Glenn R. Goldstein, Esq. (FBN: 55873)
                                                         Attorney for Plaintiff
                                                     Glenn R. Goldstein & Associates, PLLC

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